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                IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                              NO. 4:09CR00086-005 SWW

GERONIMO BALLERSTEROS QUINTERO




                                         ORDER


      Pending     before   the   Court    is   government's    motion   to   correct

superseding indictment and for dismissal of the indictment against

defendant, Geronimo Ballersteros Quintero, pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure.

      IT IS ORDERED that the government’s motions [doc #129, #130] to

amend and dismiss defendant be granted.            The Clerk is directed to amend

the name of the defendant to read “Evaristo Lopez Cardenas aka Geronimo

Ballesteros Quintero” and following this correction, the superseding

indictment   as    to   defendant   Evaristo       Lopez   Cardenas   aka    Geronimo

Ballesteros Quintero be dismissed without prejudice.

      DATED this 2nd day of September 2009.



                                                 /s/Susan Webber Wright
                                                 UNITED STATES DISTRICT JUDGE
